                       IN THE SUPREME COURT
                       STATE OF NORTH DAKOTA

                                   2024 ND 165
In the Interest of W.S., a Child

Erica Raguse, L.S.W.,
Cass Human Services Zone,                                   Petitioner and Appellee
       v.
W.S., Child; M.S., Father,                                            Respondents
       and
H.S., Mother,                                            Respondent and Appellant


                                   No. 20240179

In the Interest of W.S., a Child

Erica Raguse, L.S.W.,
Cass Human Services Zone,                                   Petitioner and Appellee
       v.
W.S., Child; M.S., Father,                                            Respondents
       and
H.S., Mother,                                            Respondent and Appellant


                                   No. 20240180

Appeal from the Juvenile Court of Cass County, East Central Judicial District, the
Honorable Daniel E. Gast, Judicial Referee.

AFFIRMED.

Per Curiam.
Rebecca R. Jund, Assistant State’s Attorney, Fargo, ND, for petitioner and appellee; on
brief.

Kiara C. Kraus-Parr, Grand Forks, ND, for respondent and appellant; on brief.
                               Interest of W.S. and W.S.
                               Nos. 20240179 &amp; 20240180

Per Curiam.

[¶1] H.S. appeals from a juvenile court order terminating her parental rights to W.S. and
W.S. She argues the court erred when it found the children were subjected to aggravated
circumstances and when it found the conditions and causes creating the need for protection
are likely to continue. We conclude the court’s findings are not clearly erroneous and the
court did not abuse its discretion when it terminated H.S.’s parental rights. See Interest of
A.C., 2022 ND 123, ¶ 5, 975 N.W.2d 567 (stating the clearly erroneous standard of review
applies to factual findings made in a termination of parental rights proceeding); see also
Interest of A.P., 2022 ND 131, ¶ 2, 976 N.W.2d 244 (stating the decision whether to
terminate parental rights is left to the court’s discretion when the statutory requirements
are proven by clear and convincing evidence). We summarily affirm under N.D.R.App.P.
35.1(a)(2) and (4).

[¶2]   Jon J. Jensen, C.J.
       Daniel J. Crothers
       Lisa Fair McEvers
       Jerod E. Tufte
       Douglas A. Bahr




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